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CO 526 Rev. 5/2018

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

vs. 22-CR-329 (TJK)

Criminal Case No.:

JEREMY BERTINO

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WAIVER OF TRIAL BY JURY

With the consent of the United States Attorney and the approval of the Court, the defendant

waives his right to trial by jury. Jp
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JA WA DQ,

Counsel for Defendant

 

 

J ED

Assistant United States attorney

(Unde, ow 16/6 [22

Timothy J. Kelly

 

 

United States District Judge
